Case 3:25-cv-00516-BN      Document 42      Filed 04/28/25    Page 1 of 8    PageID 371



                   IN THE UNITED STATES DISTRICT COURT
                       NORTHERN DISTRICT OF TEXAS
                             DALLAS DIVISION

CEDRIC WILLIS,                  §
                                §
          Plaintiff,            §
                                §
V.                              §                     No. 3:25-cv-516-BN
                                §
U.S. BANK NATIONAL ASSOCIATION, §
AS TRUSTEE, IGLOO SERIES TRUST; §
LOANCARE LLC; and SECURITY      §
NATIONAL MORTGAGE COMPANY, §
INC.,                           §
                                §
          Defendants.           §

                    MEMORANDUM OPINION AND ORDER

      In this lawsuit now proceeding before the undersigned United States

magistrate judge for all purposes under 28 U.S.C. § 636(c), see Dkt. No. 25, the Court

recently (1) denied pro se Plaintiff Cedric Willis’s motion for a temporary restraining

order (“TRO”) and/or preliminary injunction, requesting that the Court prevent a

foreclosure sale of his home during the pendency of this litigation, see Dkt. Nos. 30,

31, 35, 36, & 38, and (2) issued an order and notice of deficiency addressing the

Court’s local civil rule requirement that litigants disclose the use of Generative

Artificial Intelligence, as enforced by orders entered in this action (the “AI NOD”), see

Dkt. Nos. 27 & 39; FED. R. CIV. P. 41(b); N.D. TEX. L. CIV. R. 7.2(f).

      Willis filed a motion in response, which he then moved to amend, see Dkt. Nos.

40 & 41, through which he at least requests (1) reconsideration of the order denying

the TRO and/or preliminary injunction; (2) that the Court “[i]mmediately rescind or

amend” the AI NOD; and (3) that the Court grant him leave to amend his complaint.
Case 3:25-cv-00516-BN      Document 42      Filed 04/28/25     Page 2 of 8    PageID 372



      For the following reasons, the Court GRANTS the motion to amend the motion

[Dkt. No. 41] and DENIES the amended motion [Dkt. No. 40].

      First, Willis offers no grounds to justify reconsidering the order denying the

motion for a TRO and/or preliminary injunction, even considering the flexible

standard of Federal Rule of Civil Procedure 54(b), under which the Court “is free to

reconsider and reverse its decision for any reason it deems sufficient, even in the

absence of new evidence or an intervening change in or clarification of the substantive

law.’” Austin v. Kroger Texas, L.P., 864 F.3d 326, 336 (5th Cir. 2017) (quoting

Lavespere v. Niagara Mach. & Tool Works, Inc., 910 F.2d 167, 185 (5th Cir. 1990)

(citing FED. R. CIV. P. 54(b)), abrogated on other grounds by Little v. Liquid Air

Corp., 37 F.3d 1069, 1075 n.14 (5th Cir. 1995) (en banc)); see also Providence Title Co.

v. Truly Title, Inc., No. 4:21-CV-147-SDJ, 2021 WL 5003273, at *2-*3 (E.D. Tex. Oct.

28, 2021) (determining that, because “[o]rders granting preliminary injunctions are

interlocutory orders,” Rule 54(b) governs (citation omitted)).

      While Willis contends that the notice of default and intent to accelerate that

he received “clearly satisfies the standard for imminent harm,” Dkt. No. 40 at 2, even

if that is so, “a substantial threat that he will suffer irreparable injury if the

injunction is not granted” is just one requirement (of four) for obtaining preliminary

injunctive relief, Bluefield Water Ass’n, Inc. v. City of Starkville, Miss., 577 F.3d 250,

252-53 (5th Cir. 2009); accord Canal Auth. of State of Fla. v. Callaway, 489 F.2d 567,

572 (5th Cir. 1974).

      And, although Willis has “the burden of persuasion on all four requirements,”




                                          -2-
Case 3:25-cv-00516-BN      Document 42      Filed 04/28/25     Page 3 of 8    PageID 373



Voting for Am., Inc. v. Steen, 732 F.3d 382, 386 (5th Cir. 2013) (cleaned up), he only

offers conclusions to support his request that the Court reconsider its finding that he

has failed to show a substantial likelihood that he will prevail on the merits, see, e.g.,

Dkt. No. 40 at 2 (“nearly doubl[ing] Plaintiff’s monthly mortgage obligation, in clear

violation of HUD’s loss mitigation guidelines and standard mortgage servicing

practices for FHA-insured loans”).

      Second, the Court will not rescind or amend the AI NOD.

      Willis alleges in part that

      [t]he Court’s notice itself sends a dangerous message – a message not
      only to Plaintiff, but to the Court’s own staff, clerks, and peers: that a
      pro se litigant who dares to defend his constitutional rights using
      modern tools should be mocked, ridiculed, and falsely accused.
             The Court should be ashamed of itself for maligning a citizen’s
      good-faith efforts without first verifying facts. Citations such as Pruitt
      v. Deutsche Bank Nat’l Tr. Co., 2013 WL 789972 (N.D. Tex. Mar. 4, 2013)
      clearly exist. The Court’s attempt to insinuate otherwise is a disgrace to
      the integrity of the judiciary.

Dkt. No. 40 at 3.

      First, the Court’s order did not forbid the use of tools such as Generative

Artificial Intelligence (or “AI”) or malign parties who elect to use AI. That order

merely echoed the requirement in the Court’s local civil rules that the parties disclose

such use.

      There are sound reasons for requiring this disclosure, including that “[i]t is no

secret that generative AI programs are known to ‘hallucinate’ nonexistent cases, and

with the advent of AI, courts have seen a rash of cases in which both counsel and pro

se litigants have cited such fake, hallucinated cases in their briefs.” Sanders v. United

States, ___ Fed. Cl. ____, No. 24-cv-1301, 2025 WL 957666, at *4 (Fed. Cl. Mar. 31,


                                          -3-
Case 3:25-cv-00516-BN      Document 42      Filed 04/28/25    Page 4 of 8    PageID 374



2025) (citing Eugene Volokh, Six Federal Cases of Self-Represented Litigants Citing

Fake Cases in Briefs, Likely Because They Used AI Programs, Reason: Volokh

Conspiracy (Nov. 11, 2023, 10:27 AM), https://reason.com/volokh/2023/11/13/self-

represented-litigants-use-ai-to-write-briefsproduce-hallucinated-citations); see also

Boggess v. Chamness, No. 6:25-cv-64-JDK-JDL, 2025 WL 978992, at *1 (E.D. Tex.

Apr. 1, 2025) (“Plaintiff’s citation to a hallucinatory case was likely generated via

artificial intelligence and violates this Court’s Local Rule CV-11(g), which makes

clear that ‘generative artificial intelligence tools may produce factual and legal

inaccuracies and reminds attorneys that they must verify the information that they

submit to the court.’” (quoting Gauthier v. Goodyear Tire & Rubber Co., No. 1:23-CV-

281, 2024 WL 4882651, at *2 (E.D. Tex. Nov. 25, 2024))).

      Examining one citation in a brief that Willis has filed in this proceeding – the

case that Willis cited to the Court in support of his motion for a TRO and/or

preliminary injunction, to bolster his contention that “[c]ourts routinely find

irreparable harm where foreclosure would deprive a homeowner of their principal

residence. See Pruitt v. Deutsche Bank Nat’l Tr. Co., 2013 WL 789972 (N.D. Tex. Mar.

4, 2013),” Dkt. No. 30 at 3, which he insists clearly exists, see Dkt. No. 40 at 3 – that

citation contains hallmarks of a nonexistent case generated by AI.

      First, the Westlaw citation for the case points to other material on Westlaw (a

2013 State of Hawaii House Resolution). And, while an action filed in this federal

judicial district does contain both parties Pruitt and Deutsche Bank, and there is a

citation on Westlaw corresponding to that case, that case was filed in 2014, and the




                                          -4-
Case 3:25-cv-00516-BN      Document 42     Filed 04/28/25    Page 5 of 8    PageID 375



Westlaw citation points to a 2015 order in that case granting a plaintiff’s motion for

attorneys’ fees. See Deutsche Bank Nat’l Tr. Co. v. Pruitt, No. 3:14-cv-4221-G-BF,

2015 WL 5076755 (N.D. Tex. Aug. 27, 2015).

       A litigant’s using AI and then failing to verify the accuracy of the results it

yields violates the litigant’s Federal Rule of Civil Procedure 11 obligations. See

Sanders, 2025 WL 957666, at *5 (citing FED. R. CIV. P. 11(b)(2) (“By presenting to the

court a pleading, written motion, or other paper ... an attorney or unrepresented party

certifies that ... the claims, defenses, and other legal contentions are warranted by

existing law.”)).

       The United States Court of Appeals for the Fifth Circuit “has made it clear

that Rule 11 applies fully and completely to actions filed by pro se litigants.” Hick v.

Bexar Cnty., Tex., 973 F. Supp. 653 (W.D. Tex. 1997) (collecting cases), aff’d, 137 F.3d

1352 (5th Cir. 1998); see also Houston v. Sw. Airlines, No. 3:17-cv-2610-N-BT, 2020

WL 774408, at *1 (N.D. Tex. Feb. 18, 2020) (“Although the Rule 11 standard applies

equally to pro se parties as it does to attorneys, a court has ‘sufficient discretion to

take account of the special circumstances that often arise in pro se situations.’”

(quoting FED. R. CIV. P. 11 advisory committee’s notes)).

       “[T]he central purpose of Rule 11 is to deter baseless filings in district court

and thus … streamline the administration and procedure of the federal courts.”

Cooter & Gell v. Hartmarx Corp., 496 U.S. 384, 393 (1990) (citation omitted).

       And the Court agrees with court in Sanders that briefing “built on AI-

generated cases that stand for legal propositions in direct contravention of actual case




                                         -5-
Case 3:25-cv-00516-BN       Document 42     Filed 04/28/25     Page 6 of 8    PageID 376



law” “is the epitome of baseless” and that, “[w]hile courts afford pro se litigants

considerable leeway, that leeway does not relieve pro se litigants of their obligation

under Rule 11 to confirm the validity of any cited legal authority.” 2025 WL 957666,

at *5 (citations omitted)); cf. id. (“Beyond the waste of resources and the violation of

her Rule 11 obligations, Plaintiff’s unquestioning reliance on AI hindered her own

ability to effectively represent herself. Misled by the fake cases, Plaintiff cost herself

an opportunity to make the best possible arguments in support of her claim for

relief.”); Ferris v. Amazon.com Servs., Inc., No. 3:24-cv-304-MPM-JMV, 2025 WL

1122235, at *1 (N.D. Miss. Apr. 16, 2025) (“Trials are a search for the truth. Parties

who cite false cases not only seek to secure unfair advantage, they are, in fact, avatars

of a post-truth world.”).

      So, again, the Court will neither rescind nor amend its AI NOD but will again

WARN all parties that the undisclosed use of AI, in violation of the Court’s local civil

rules and the Court’s orders, will subject that party to sanctions. See Dkt. No. 39 at

2 (“[T]o the extent that any party uses Generative Artificial Intelligence going

forward, the Court expects that such use will be disclosed as required by the local

rules. Failure to do will may result in sanctions that could include the dismissal of

this lawsuit.”); see also Sanders, 2025 WL 957666, at *5 (“The Court notes that other

judges have sanctioned attorneys for citing fake, AI-generated cases. These sanctions

have included fines, requiring payment of the opposing party’s fees, striking filings,

dismissal of the action, and initiating disciplinary actions. While pro se litigants have

been given more latitude than attorneys for the use of fake AI-generated cases, some




                                          -6-
Case 3:25-cv-00516-BN       Document 42     Filed 04/28/25    Page 7 of 8   PageID 377



courts have sanctioned pro se litigants for this conduct. Nonetheless, given the

relative novelty of AI, the Court recognizes that Plaintiff may not have been aware of

the risk that AI programs can generate fake case citations and other legal

misstatements. For this reason, many judges opt to warn – rather than sanction –

pro se litigants who have improperly used AI instead of imposing sanctions. Here, too,

the Court finds a warning to be appropriate, as the case must be dismissed for lack

of jurisdiction and Defendant does not request sanctions. Under other circumstances,

the Court may find sanctions to be appropriate, even for pro se litigants.

Nevertheless, Plaintiff is now aware of the risks of using AI, and is on notice that she

may be subject to sanctions should she cite fake, AI-generated legal authority again.

Accordingly, Plaintiff – and future litigants in this Court – are advised that any

filings with citations to nonexistent cases may result in sanctions, including the

striking of filings, the imposition of filing restrictions, monetary penalties, or

dismissal of the action.” (citations omitted)).

      Finally, to the extent that Willis requests leave to amend his complaint, the

Court set out how parties may amend the pleadings in the Initial Scheduling Order

entered on April 7, 2025:

             Federal Rule of Civil Procedure 15(a)(1) provides that “[a] party
      may amend its pleading once as a matter of course within: (A) 21 days
      after serving it, or (B) if the pleading is one to which a responsive
      pleading is required, 21 days after service of a responsive pleading or 21
      days after service of a motion under [Federal Rule of Civil Procedure]
      12(b), (e), or (f), whichever is earlier.” FED. R. CIV. P. 15(a)(1). Federal
      Rule of Civil Procedure 15(a)(2) then provides that, “[i]n all other cases,
      a party may amend its pleading only with the opposing party’s written
      consent or the court’s leave.” FED. R. CIV. P. 15(a)(2).
             Accordingly, unless Rule 15(a)(1) permits an amended or



                                          -7-
Case 3:25-cv-00516-BN    Document 42      Filed 04/28/25   Page 8 of 8    PageID 378



      supplemental pleading to be filed without leave, or an amended or
      supplemental pleading is filed with the opposing party’s written
      consent, a motion for leave must be filed to amend or supplement
      pleadings, and such motions for leave must be filed by April 29, 2025.
              The Court generally will grant a timely-filed motion for leave to
      amend as a matter of course absent a showing of undue prejudice or
      futility. See FED. R. CIV. P. 15(a).
              But no amendments will be allowed after this deadline except on
      a showing of good cause. See FED. R. CIV. P. 16(b)(4).
              And any motion for leave to amend a pleading must include both
      a clean version of the proposed amended pleading and a version in which
      all new or deleted language in the proposed amended pleading is noted
      by using a program’s redline function or through underlining, brackets,
      highlighting, and the like. Accord N.D. TEX. L. CIV. R. 15.1.

Dkt. No. 27, ¶ 3.

      SO ORDERED.

      DATED: April 28, 2025

                                       _________________________________________
                                       DAVID L. HORAN
                                       UNITED STATES MAGISTRATE JUDGE




                                        -8-
